                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FOOD LION, LLC, and MARYLAND AND
VIRGINIA MILK PRODUCERS
COOPERATIVE ASSOCIATION, INC.,
                 Plaintiffs,                            1:20-CV-442
v.

DAIRY FARMERS OF AMERICA, INC.,
              Defendant.



      ORDER GRANTING EXTENSION OF TIME FOR FILING OF JOINT
             SUBMISSION ON DISCOVERY SCHEDULING

       By joint motion, the Parties seek a seven (7) day extension of time within which to

file a Joint Submission addressing the Parties’ positions on discovery. For good cause

shown this Joint Motion is GRANTED.

       NOW THEREFORE, IT IS ORDERED that the Parties shall have through and

until June 29, 2020, within which to file a Joint Submission addressing the Parties’

positions on discovery.

       This 23rd day of June, 2020.




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                                   UNITED STATES DISTRICT JUDGE




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